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                        UNITED STATES DISTRICT CIOURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


DALE MELVIN,                             Case No. 18-13405

      Plaintiff                          District Judge Stephen J. Murphy, III
v.                                       Magistrate Judge R. Steven Whalen

COMMISSIONER OF
SOCIAL SECURITY,

      Defendant.

                                                 /

                       REPORT AND RECOMMENDATION

      Plaintiff Dale Melvin (“Plaintiff”) brings this action under 42 U.S.C. §405(g),

challenging a final decision of Defendant Commissioner (“Defendant”) denying his

application for Disability Insurance Benefits (“DIB”) and Supplemental Security Income

(“SSI”) under Titles II and XVI respectively of the Social Security Act. The parties have

filed cross-motions for summary judgement which have been referred for a Report and

Recommendation pursuant to 28 U.S.C. §636(b)(1)(B). For the reasons set forth below, I

recommend that Defendant’s Motion for Summary Judgment [Docket #19] be

GRANTED and that Plaintiff’s Motion for Summary Judgment [Docket #13] be

DENIED.

                            I. PROCEDURAL HISTORY

      On March 30, 2017, Plaintiff filed applications for DIB and SSI, alleging disability

as of February 15, 2015 (Tr. 146, 153). Upon initial denial of the claim, Plaintiff



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requested an administrative hearing, held on June 13, 2018 in Detroit, Michigan (Tr. 37).

Administrative Law Judge (“ALJ”) Therese Tobin presided. Plaintiff, represented by

attorney Grace Flash, testified (Tr. 40-56), as did Vocational Expert (“VE”) Diane Regan

(Tr. 56-61). On July 25, 2018, ALJ Tobin determined that Plaintiff was not disabled (Tr.

23-32). On October 23, 2018, the Appeals Council denied review of the administrative

decision (Tr. 1-3). Plaintiff filed suit in this Court on October 31, 2018.

                              II.   BACKGROUND FACTS

       Plaintiff, born September 4, 1966, was 51 at the time of the           administrative

decision (Tr. 32, 146). He completed high school and received a certification for heating

and cooling work (Tr. 175). He worked previously as a maintenance worker at a car

wash, material handler, and tire changer (Tr. 175). He alleges disability due to back,

neck, and breathing problems and coronary disease (Tr. 174).

       A. Plaintiff’s Testimony

       Plaintiff offered the following testimony.

       After developing back pain, he had been diagnosed with degenerative disc disease

(Tr. 43). His ability to bend, walk, stand, and recline for long periods was limited (Tr.

43). He reclined two to three times a day (Tr. 43). Pain medication helped the back

condition “a little” (Tr. 44). He had declined to undergo back surgery after being told

that the proposed surgery could result in the inability to walk (Tr. 44). His cardiac

symptoms were limited to shortness of breath “once in a while” (Tr. 44). The condition

of hypertension was controlled with medication (Tr. 45-46). Plaintiff was currently living




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in his truck (Tr. 44). He spent most of his waking hours looking at Facebook or the

internet on his smart phone (Tr. 45). He did not experience problems driving (Tr. 45).

       In response to questioning by his attorney, Plaintiff reported that he stood 5' 9" and

weighed around 240 pounds (Tr. 46). His medical conditions affected his ability to

exercise (Tr. 47).    His previously held Commercial Driver’s License had not been

reinstated due to his use of prescribed narcotics but he had a chauffeur’s license (Tr. 47).

He was unable to drive for more than 15 minutes due to the inability to sit for extended

periods (Tr. 47). He denied medication side effects (Tr. 47). He experienced delay and

difficulty grooming himself and caring for his living area due to standing, twisting, and

bending limitations (Tr. 47-48). On a scale of one to ten, he regularly experienced level

“six” to “eight” pain and on a “good” day, “three” to “five” pain (Tr. 48-49). He was able

to stand for up to 15 minutes after which time he was required to sit for 15 minutes (Tr.

50). He could walk for two blocks before experiencing severe lower back pain (Tr. 51).

Due to body pain, he was unable to concentrate on the plot of a movie for more than 15

minutes (Tr. 50). He was able to lift and carry up to 15 pounds (Tr. 51-52). However, he

experienced intermittent numbness of the arms and hands lasting up to six to eight hours

at a time (Tr. 52).

       Due to the inability to sleep for more than four hours a night, Plaintiff took several

15-minute naps during the day (Tr. 53). He did not use an assistive device but leaned

against his truck when entering or exiting (Tr. 54). He experienced pain upon overhead

reaching (Tr. 55). He did not use alcohol or illicit drugs but smoked up to a pack of

cigarettes each day (Tr. 56).


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       B. Medical Records

                         1. Records Related to Plaintiff’s Treatment

       February, 2014 records by internist Charbal Bazo, M.D. note that Plaintiff

underwent a laparoscopic gallbladder removal the same month (Tr. 336). The same

month, Plaintiff was diagnosed with moderate sleep apnea (Tr. 317-318). November,

2014 imaging studies of the lumbar spine showed degenerative disc disease (Tr. 327).

Ophthalmological records from November, 2014 note a diagnosis of narrow angle

glaucoma (Tr. 341). The same month, imaging studies of the lumbar spine showed

degenerative disc disease (Tr. 458).

       In February, 2015, Plaintiff reported mild vision blurriness (Tr. 349). Cardiology

records note shortness of breath on exertion and edema of the lower extremities (Tr. 412).

An echocardiogram showed mild mitral regurgitation (Tr. 426). A cardiac stress test

yielded normal results (Tr. 428). Cardiology records from the same month note chest

pain and hypertension (Tr. 409). A May, 2015 MRI of the lumbar spine showed a broad

central disc bulge and stenosis at L4-L5 and L5-S1 (Tr. 315, 459). In August, 2015,

Plaintiff showed a reduction in sleep apnea symptoms with a CPAP machine (Tr. 461).

He denied daytime sleepiness (Tr. 463). Imaging studies of the spine from the same

month showed only mild degenerative changes (Tr. 466). An October, 2015 MRI of the

lumbar spine showed degenerative disc disease at L4-L5 and L5-S1 with mild canal

compromise at L2-L3 (Tr. 255, 309). In March, 2016, Plaintiff sought treatment for

upper and lower back pain and hand numbness (Tr. 231). Plaintiff reported no benefit

from steroid injections (Tr. 233). Physiologist Nick Reina, M.D. noted a stiff gait (Tr.


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232). He prescribed Norco and advised the use of a TENS unit, physical therapy, the

possible use of a back brace, and better posture (Tr. 233). Cardiology records from the

same month noted shortness of breath on exertion and edema (Tr. 403). The following

month, Plaintiff reported good results from the use of Norco and that his symptoms were

“controlled” (Tr. 237, 239). Dr. Reina noted that a recent MRI of the cervical spine

showed “cord contact” with mild to moderate stenosis at C4-C5 (Tr. 241, 251). The MRI

showed prior fusion surgery at C5-C6 (Tr. 252). Plaintiff continued to exhibit an antalgic

gait (Tr. 241). September, 2015 records note edema and mild to moderate shortness of

breath on exertion (Tr. 406).

       July, 2016 imaging studies showing evidence of cervical spine fusion surgery were

negative for complications (Tr. 440). September, 2016 records were negative for chest

pain, edema, or shortness of breath (Tr. 400). In December, 2016, Plaintiff reported left

hip pain, noting that he had undergone reconstructive surgery of the left hip in 1990 (Tr.

473). An x-ray of the hip showed “complete loss of joint space with severe osteoarthritis”

(Tr. 301, 477). The same month and in January, 2017, Plaintiff underwent laser surgery

for a longstanding eye condition (Tr. 360).

       March, 2017 cardiology records note Plaintiff’s report of shortness of breath on

exertion and mild lower extremity edema but denial of chest pain (Tr. 222, 224). The

notes state that Plaintiff was not compliant with reducing salt intake and continued to

smoke (Tr. 222, 396). He did not show symptoms of valvular heart disease (Tr. 226).

Plaintiff was advised to lose weight, quit smoking, and reduce his salt intake (Tr. 224).

Dr. Reina’s May, 2017 records note that Plaintiff reported ongoing, severe, upper and


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lower back symptoms with numbness in the upper extremities (Tr. 247). A chest x-ray

from the following month was unremarkable (Tr. 297). June, 2017 records note a normal

range of motion but lower extremity edema (Tr. 481). Ultrasound testing was negative

for deep vein thrombosis (Tr. 487). A chest x-ray was unremarkable (Tr. 488).

        Plaintiff reported worsening neck pain in July, 2017 (Tr. 245). In August, 2017,

Dr. Reina completed an assessment of Plaintiff’s physical abilities (Tr. 259-262), finding

that pain and stress would interfere with his work activities on a “constant” basis (Tr.

259). Dr. Reina found that Plaintiff was unable to walk on rough or uneven ground and

was unable to walk more than one block on a normal surface without severe pain (Tr.

259).    He found that Plaintiff was unable to climb steps and experienced difficulty

stooping, crouching, and bending (Tr. 260). He found that Plaintiff was unable to sit,

stand, or walk for more than 30 minutes at a time (Tr. 260). He found that Plaintiff was

limited to sitting for around three hours in an eight-hour workday and likewise, was

limited to standing or walking for three hours (Tr. 261). He found that Plaintiff required

five minute breaks every hour or 30 minutes (Tr. 261). He found that Plaintiff did not

require the use of an assistive device (Tr. 261). He found that Plaintiff was limited to

lifting five pounds frequently, 10 pounds occasionally, and 15 to 20 pounds rarely (Tr.

261). He found that Plaintiff would be unable to push or pull with any extremities for six

or more hours in an eight-hour workday (Tr. 262). He found that Plaintiff would be off

task more than 30 percent of the workday; would be more than 50 percent less productive

than an average worker; and would miss five or more days of work each month (Tr. 262).

Dr. Reina noted that his findings were based on Plaintiff’s medical records, physical


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examinations, office notes, and imaging studies (Tr. 262). Dr. Reina noted that his

assessment was prepared with Plaintiff’s assistance (Tr. 265).

       Dr. Reina’s treating records from the same day note Plaintiff’s report of numbness

and consistently moderate pain (Tr. 263). Plaintiff exhibited normal respiratory function

and no edema (Tr. 264). An echocardiogram from the same month showed a mildly

dilated left ventricle but no other abnormalities (Tr. 290, 424). Ophthalmological records

from the following month note a diagnosis of moderate bilateral narrow angle glaucoma

(Tr. 288). The same month, Plaintiff exhibited edema and reported shortness of breath

on exertion (Tr. 392). The following month, Plaintiff sought emergency treatment after

experiencing dizziness arising from a sitting position (Tr. 494). He denied chest pain and

demonstrated a full range of motion (Tr. 494, 496).

       Dr. Reina’s February, 2018 records note no significant changes in neck and lower

back pain (Tr. 267). Dr. Bazo’s records from the same month note a diagnosis of

unspecified Carpal Tunnel Syndrome (“CTS”) (Tr. 275). March, 2018 records note

Plaintiff’s report of occasional, mild blurred vision (Tr. 379). He denied heart-related

symptoms (Tr. 380).     March, 2018 cardiology records note no symptoms and that the

edema had resolved (Tr. 384). The same month, E. Neil Pasia, D.O. found that Plaintiff

was not a back surgery candidate (Tr. 433). She observed full muscle strength in all

extremities and a normal gait (Tr. 432). She advised Plaintiff to exercise and maintain

normal activity (Tr. 433).




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                                     2. Non-Treating Records

        In July, 2017, Natalie Gray, M.D. performed a non-examining assessment of the

treating records on behalf of the SSA, finding that Plaintiff could lift 10 pounds

frequently and 20 pounds occasionally; sit, stand, or walk for a total of six hours in an

eight-hour workday; and push and pull without limitation (Tr. 69). Dr. Gray found that

Plaintiff was limited to frequent (as opposed to constant) balancing, stooping, kneeling,

crouching, crawling and climbing of ramps and stairs with a preclusion on all climbing of

ladders, ropes, and scaffolds (Tr. 70). She found that Plaintiff should avoid concentrated

exposure to hazards such as machinery and heights (Tr. 71).

       C. Vocational Testimony

       VE Regan classified Plaintiff’s past work as a tire changer as semiskilled and

exertionally heavy (exertionally medium as performed); maintenance mechanic,

skilled/medium; and press operator, unskilled/medium1 (Tr. 57).

     ALJ Tobin then posed a set of work-related limitations to the VE, describing an

individual of Plaintiff’s age, education level, and work history:

       [L]ight exertional level with the following limitations: frequently climb
       ramps and stairs; never climb ladders, ropes, and scaffolds; frequently
1


        20 C.F.R. § 404.1567(a-d) defines sedentary work as “lifting no more than 10 pounds
at a time and occasionally lifting or carrying articles like docket files, ledgers, and small
tools; light work as “lifting no more than 20 pounds at a time with frequent lifting or carrying
of objects weighing up to 10 pounds;” medium work as “lifting no more than 50 pounds at
a time with frequent lifting or carrying of objects weighing up to 25 pounds;” and that
exertionally heavy work “involves lifting no more than 100 pounds at a time with frequent
lifting or carrying of objects weighing up to 50 pounds. Very Heavy work requires “lifting
objects weighing more than 100 pounds at a time with frequent lifting or carrying of objects
weighing 50 pounds or more. § 404.1567(e).


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       balance and stoop; frequently kneel, crouch, and crawl; never exposed to
       unprotected heights and dangerous machinery (Tr. 57).

The VE testified that the above limitations would preclude all of Plaintiff’s past relevant

work but would allow for the light, unskilled work of an assembler (200,000 positions in

the national economy); inspector (100,000); and packer (200,000) (Tr. 58). The VE

testified that the inclusion of a sit/stand option allowing the individual to change position

every 20 minutes (if needed) and a limitation to fingering and handling frequently would

halve the job numbers (Tr. 58). She testified that the above restrictions would also allow

for the sedentary work of an inspector (50,000); sorter (50,000); and assembler (100,000)

(Tr. 59). The VE testified further that additional limitations to “simple, routine tasks,”

“simple work-related decisions,” and only “frequent contact with supervisors, coworkers,

and the general public” would not change the job numbers (Tr. 59).

          The VE testified that if the hypothetical individual lacked the persistence, pace

or concentration to perform full-time, simple work; were off-task for at least 20 percent of

the workday; or, were absent three or more days a month, no competitive employment

would be available (Tr. 59). The VE stated that her testimony was consistent with the

information found in the Dictionary of Occupational Titles (“DOT”) except for her

testimony regarding absenteeism, time off tasks, and the sit/stand option which was based

on her own professional experience (Tr. 58-60).

       In response to questioning by Plaintiff’s attorney, the VE testified that a limitation

to occasional interaction with supervisors, coworkers, or the public would not change the

job numbers but testified that if the hypothetical individual were limited to only



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 occasional handling and fingering, all of the above-cited jobs would be eliminated (Tr.

 60-61).

        D. The ALJ’s Determination

        Citing the medical transcript, ALJ Tobin found that Plaintiff experienced the

 severe impairments of “degenerative disc disease of the cervical and lumbar spine,

 cardiomyopathy, obesity, glaucoma, chronic pain syndrome, and osteoarthrosis” but that

 none of the impairments or combination of impairments met or medically equaled the

 severity of one of the listed impairments in 20 C.F.R. Part 404, Subpart P, Appendix 1

 (Tr. 25-26). The ALJ determined that Plaintiff had a Residual Functional Capacity

 (“RFC”) for exertionally light work with the following additional restrictions:

        [F]requent climbing of ramps and stairs; no climbing of ladders, ropes, or
        scaffolds; frequent balancing, stooping, kneeling, crouching, and crawling;
        no exposure to unprotected heights or dangerous machinery; requires a
        sit/stand option, permitting change in position every 20 minutes, as needed,
        without disturbing the workplace; and frequent handling and fingering
        bilaterally (Tr. 27).

 Citing the VE’s testimony, the ALJ found that while Plaintiff was unable to perform his

 past relevant work, he could perform the light, unskilled work of an assembler, inspector,

 and packer (Tr. 30-31, 58).

        The ALJ declined to credit Plaintiff’s allegations of disabling limitation, citing

 April, 2016 records noting no manifestations of congestive heart failure (Tr. 28). She

 noted that as of March, 2018, Plaintiff did not experience chest pain or edema (Tr. 29).

 The ALJ noted Plaintiff’s report of mild-to-moderate shortness of breath on exertion but

 noted that Plaintiff nonetheless continued to smoke a pack of cigarettes every day (Tr.



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 29). She cited July, 2016 records showing that Plaintiff’s condition was stable following

 cervical spine surgery (Tr. 28). The ALJ accorded “little weight” to Dr. Reina’s August,

 2017 opinion that Plaintiff was incapable of even sedentary work, noting that the

 assessment contradicted Dr. Reina’s own treating records showing full motor strength and

 an adequate range of cervical spine motion (Tr. 29). She noted that the assessment

 appeared to be based on Plaintiff’s “subjective complaints” rather than the objective

 evidence (Tr. 29-30).

                            III.     STANDARD OF REVIEW

           “Under the substantial evidence standard, a court looks to an existing

 administrative record and asks whether it contains ‘sufficien[t] evidence’ to support the

 agency's factual determinations.” Biestek v. Berryhill, — U.S. —, 139 S.Ct. 1148, 1154

 (2019)(punctuation altered)(citing Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229,

 59 S.Ct. 206, 83 L.Ed. 126 (1938))(emphasis deleted). The district court reviews the final

 decision of the Commissioner to determine whether it is supported by substantial

 evidence. Biestek at 139 S. Ct. at1152; 42 U.S.C. §405(g).       “Substantial evidence is

 defined as ‘more than a scintilla of evidence but less than a preponderance; it is such

 relevant evidence as a reasonable mind might accept as adequate to support a

 conclusion.’” Rogers v. Commissioner of Social Sec., 486 F.3d 234, 241 (6th Cir.

 2007)(citing Cutlip v. Sec'y of Health & Human Servs., 25 F.3d 284, 286 (6th Cir.1994)).

       The standard of review is deferential and “presupposes that there is a ‘zone of

 choice’ within which decision makers can go either way, without interference from the

 courts.” Mullen v. Bowen,         800 F.2d 535, 545 (6th Cir.   1986)(en banc).    Where


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 substantial evidence supports the ALJ's decision, the reviewing court “defers to that

 finding even if there is substantial evidence in the record that would have supported an

 opposite conclusion.’” Blakley v. Commissioner Of Social Sec., 581 F.3d 399, 406 (6th

 Cir. 2009)(citing Key v. Callahan, 109 F.3d 270, 273 (6th Cir.1997)).        However, in

 determining whether the evidence is substantial, the court must “take into account

 whatever in the record fairly detracts from its weight.” Wages v. Secretary of Health &

 Human Services, 755 F.2d 495, 497 (6th Cir. 1985). The court must examine the

 administrative record as a whole, and may look to any evidence in the record, regardless

 of whether it has been cited by the ALJ. Walker v. Secretary of Health and Human

 Services, 884 F.2d 241, 245 (6th Cir. 1989).

        IV.    FRAMEWORK FOR DISABILITY DETERMINATIONS

        Disability is defined in the Social Security Act as the “inability to engage in any

 substantial gainful activity by reason of any medically determinable physical or mental

 impairment which can be expected to result in death or which has lasted or can be

 expected to last for a continuous period of not less than 12 months.” 42 U.S.C.

 §423(d)(1)(A). In evaluating whether a claimant is disabled, the Commissioner is to

 consider, in sequence, whether the claimant: 1) worked during the alleged period of

 disability; 2) has a severe impairment; 3) has an impairment that meets or equals the

 requirements of an impairment listed in the regulations; 4) can return to past relevant

 work; and 5) if not, whether he or she can perform other work in the national economy.

 20 C.F.R. §416.920(a). The Plaintiff has the burden of proof at steps one through four,

 but the burden shifts to the Commissioner at step five to demonstrate that,


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 “notwithstanding the claimant's impairment, he retains the residual functional capacity to

 perform specific jobs existing in the national economy.” Richardson v. Secretary of

 Health & Human Services, 735 F.2d 962, 964 (6th Cir.1984).

                                       V. ANALYSIS

        Plaintiff makes four arguments for remand, contending first that the ALJ failed to

 provide an adequate rationale for discounting Dr. Reina’s August, 2017 treating

 assessment. Next, he argues that substantial evidence does not support the RFC for

 exertionally light work. In his third argument, he contends that the ALJ failed to consider

 his efforts to obtain pain relief in rejecting the allegations of limitation. Last, he disputes

 the finding that he did not seek regular medical treatment and, to the extent that he did not

 always receive regular treatment, the ALJ failed to consider the reasons that his medical

 care was compromised .


        Plaintiff’s first and second arguments will be discussed separately. His third and

 fourth arguments, both pertaining to the ALJ’s rejection of the professed limitation can be

 considered in tandem.


        A. Dr. Reina’s Assessment

        Plaintiff argues first that the ALJ “failed to provide any legitimate reasons” for

 discounting Dr. Reina’s treating opinion as required by 20 C.F.R. §§ 404.1527, 416.927

 and SSR 96–2p, 1996 WL 374188, at *5 (1996)). ECF No. 13, PageID.561. He also

 contends that Dr. Reina’s treating assessment is entitled to controlling weight.            Id.

 Plaintiff relies on an inapplicable Social Security Ruling and regulations in support of his



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 argument. For claims filed before March 27, 2017, the opinion of a treating physician is

 accorded controlling weight if “well-supported by medically acceptable clinical and

 laboratory diagnostic techniques,” and      “not inconsistent with the other substantial

 evidence.” See Wilson v. Comm'r of Soc. Sec., 378 F.3d 541, 544 (6th Cir. 2004) 20

 C.F.R. § 404.1527(c)(2)); SSR 96–2p, 1996 WL 374188, at *5 (1996)).


        However, the administration rescinded SSR 96-2p on March 27, 2017. See

 Rescission of Social Security Rulings 96-2p, 96-5p, and 06-3p, 82 FR 15263-01 (Mar. 27,

 2017). Plaintiff filed his application for benefits on March 30, 2017 (Tr. 146). In contrast

 to previously applied regulations, see §§ 404.1527, 416.927, the ALJ will weigh both

 treating and non-treating medical evaluations based on how well they are supported by

 the remainder of the record. 20 C.F.R. §§ 404.1520c; 416.920c (“We will not defer or

 give any specific evidentiary weight, including controlling weight, to any medical

 opinion(s) or prior administrative medical finding(s), including those from your medical

 sources”).   The factors to be considered in evaluating medical opinions include

 supportability and consistency with the record as a whole; relationship with the claimant;

 length of the treatment relationship; frequency of examinations; purpose and extent of the

 treating relationship; whether the source has examined the claimant; specialization; and

 any other factors that support or undermine the medical opinion. §§ 404.1520c(c);

 416.920c(c). ALJs must articulate the “most important factors of supportability and

 consistency” of the medical opinions but “are not required to[] explain” the consideration

 given to the remaining factors. §§ 404.1520c(b); 416.920c(b).



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        The Plaintiff did not present any arguments under the new regulation until oral

 argument, and has arguably waived this issue. Nevertheless, the ALJ’s discussion and

 accord of little weight to Dr. Reina’s opinion satisfies the requirements of the above

 regulations. The ALJ acknowledged Dr. Reina’s opinion that Plaintiff was incapable of

 sitting or standing/walking for more than three hours in an eight-hour workday; lifting

 more than 10 pounds; and working without excessive breaks or absenteeism (Tr. 29 citing

 Tr. 259-262). However, she noted that Dr. Reina’s assessment was inconsistent with Dr.

 Pasia’s March, 2018 findings of no cervical or lumbar tenderness; an adequate range of

 cervical motion; and full motor strength in a extremities (Tr. 29 citing Tr. 433). The ALJ

 cited Dr. Reina’s statement that his assessment was made with Plaintiff’s assistance,

 noting that the assessment appeared to be based on Plaintiff’s “subjective complaints”

 rather than the clinical or objective evidence (Tr. 29-30 citing Tr. 265).


        In contrast, the ALJ accorded “great weight” to Dr. Gray’s July, 2017 non-

 examining finding that Plaintiff could perform a limited range of exertionally light work

 because “it was supported by the evidence in the record as a whole,” noting that despite

 the presence of degenerative disc disease, Plaintiff demonstrated a full range of motion

 other than a decreased range of the lumbar spine (Tr. 30). She cited Plaintiff’s testimony

 that he did not experience significant limitation due to glaucoma or cardiomyopathy (Tr.

 30). Although Dr. Gray’s assessment did not address the need for position changes, the

 ALJ found that due to obesity, degenerative disc disease, and hip problems, Plaintiff

 would require a “sit/stand” option allowing him to change from a sitting to standing



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 position every 20 minutes (Tr. 30). Because the ALJ discussed the “supportability” and

 “consistency” of both Dr. Reina’s and Dr. Gray’s assessment as required by § 404.1520c

 and § 416.920c, a remand is not warranted.


        B. The RFC Assessment

        In his second argument, Plaintiff contends that the RFC for a range of light work

 is contradicted by “overwhelming evidence” of record. ECF No. 13, PageID.564. Citing

 SSR 83-10, he notes that light work, by definition, involves “‘a good deal of walking or

 standing.’” Id. at PageID.565 (citing 1983 WL 31251, at *5 (January 1, 1983)).


        “RFC is what an individual can still do despite his or her limitations.” SSR 96-8p,

 1996 WL 374184 at *2. (July 2, 1996). “The RFC assessment must include a narrative

 discussion describing how the evidence supports each conclusion, citing specific medical

 facts” including objective findings, non-medical evidence, and activities of daily living.

 Id. at *7. In crafting the RFC, the ALJ’s findings must include consideration of the

 exertional activities of “sitting, standing, walking, lifting, carrying, pushing, [and]

 pulling” as well as the non-exertional physical limitations. SSR 96-8p at *6. “Although a

 function-by-function analysis is desirable, SSR 96–8p does not require ALJs to produce

 such a detailed statement in writing.” Delgado v.Comm’r Social Security, 30 Fed.Appx.

 542, 547–548, 2002 WL 343402, at *5 (6th Cir. March 4, 2002)(internal citations

 omitted.“[T]he ALJ need only articulate how the evidence in the record supports the RFC

 determination, discuss the claimant's ability to perform sustained work-related activities,

 and explain the resolution of any inconsistencies in the record.” Id.



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         Contrary to Plaintiff’s claim, the RFC for a reduced range of exertionally light

 work with a sit/stand option is well explained and generously supported by the record.

 The ALJ found that the condition of cardiomyopathy did not prevent Plaintiff from

 performing light work, citing a stress test taken five days after the alleged onset of

 disability showing normal results (Tr. 28). The ALJ cited Plaintiff’s April, 2016 report to

 Dr. Reina that he had not experienced heart-related symptoms since his last visit (Tr. 28).

 The ALJ also noted that despite Plaintiff’s report of shortness of breath on exertion, he

 continued to smoke a pack of cigarettes each day (Tr. 29). The Sixth Circuit has

 repeatedly held that a claimant's continued smoking militates against the credibility of [a

 claimant’s] disabling breathing [dis]order.” Siler v. Astrue, 2012 WL 2603656, at *7

 (E.D. Ky. July 5, 2012)(citing Brown v. Secretary of Social Sec., 221 F.3d 1333, at *1

 (6th Cir. June 22, 2000)(table)); See also Sias v. Secretary of Health and Human Svcs.,

 861 F.2d 475, 480 (6th Cir. 1988)(allegations of disability undermined by failure to

 follow the prescribed medical regime). As to the condition of degenerative disc disease,

 the ALJ noted that an April, 2016 MRI of the cervical spine was similar to an earlier

 study (Tr. 28). The ALJ cited Dr. Reina’s July, 2016 observation that the chronic pain

 syndrome was stable and Dr. Reina’s May, 2017 finding of normal strength, the ability to

 heel/toe walk, and negative neurologic testing of the lower extremities (Tr. 28).


        Standing alone, Dr. Gray’s non-examining finding that Plaintiff could perform a

 range of light work constitutes substantial evidence in support of the RFC (Tr. 30).

 However in addition, the ALJ added a sit/stand option to the RFC allowing Plaintiff to



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 change positions every 20 minutes in recognition of the conditions of obesity, lumbar

 degenerative disc disease, and osteoarthritis of the left hip (Tr. 30). She acknowledged

 the findings of intermittent numbness due to cervical degenerative disc disease by

 limiting him to work involving frequent, rather than constant, handling and fingering (Tr.

 27, 30). In short, although substantial evidence supported a less restrictive RFC, the ALJ

 permissibly found that Plaintiff was limited to a narrower range of light work than

 reflected in Dr. Gray’s assessment.


        Further, while Plaintiff notes that under SSR 83-10, light work requires standing or

 walking around six hours in an eight-hour workday, the Ruling also notes that the

 standing/walking is required “on and off” rather than continually. 1983 WL 31251, at *5.

 The inclusion of the sit/stand option in the RFC further limits Plaintiff to standing or

 walking for 20 minutes at a time. Notably, Plaintiff does not contest the VE’s finding that

 the RFC for light work with the sit/stand option and the additional postural and

 manipulative limitations would allow for approximately 250,000 jobs in the national

 economy (Tr. 57-58).      By any standard, 250,000 positions in nationally economy

 constitutes a “significant” number of jobs. See Taskila v. Commissioner of Social Sec.,

 819 F.3d 902, 905 (6th Cir. 2016)(“Six thousand jobs in the United States fits

 comfortably within what this court and others have deemed ‘significant’”).


        In summary, Plaintiff has not met his burden to show that the RFC overstated his

 physical capabilities. See Jordan v. Commissioner of Social Sec., 548 F.3d 417, 423 (6th




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 Cir. 2008)(“claimant . . . retains the burden of proving her lack of residual functional

 capacity”).

        C. Plaintiff’s Allegations of Limitation (Arguments Three and Four)

        In his third argument, Plaintiff takes issue with the ALJ’s rejection of his professed

 degree of limitation, contending that the ALJ erroneously overlooked his ongoing use of

 pain medication to quell symptoms of degenerative disc disease.              ECF No. 13,

 PageID.567. On a related note, he argues fourth that the ALJ erred (1) by noting that he

 did not comply with treatment recommendation, (2) did not consider the possible reasons

 that he would have been unable to obtain regular treatment, and (3) failed to acknowledge

 he actually sought and received treatment on a fairly regular basis.2 ECF No. 13,

 PageID.568.

        SSR 16–3p sets forth the standard for evaluating the alleged limitations using a

 two-step process. 2016 WL 1119029, at *3 (Mar. 16, 2016). First, the ALJ determines

 whether the claimant has a medically-determinable impairment that could reasonably be

 expected to produce the alleged pain or limitation.         Id. at *3.   Here, ALJ Tobin

 acknowledged that the conditions of degenerative disc disease, cardiomyopathy, obesity,


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        Plaintiff cites SSR 96-7p in support of his argument that the ALJ discounted his
 claims based on an erroneous account of his treatment history. 1996 WL 374186 (July 2,
 1996). However, the Ruling was rescinded and replaced by SSR 16-3p on March 28, 2016.
 2017 WL 5180304 (October 25, 2017). In contrast to the rescinded Ruling (SSR 96-7p), the
 newer Ruling eliminates the use of the term “credibility” from SSA policy. SSR 16-3p, 2016
 WL 1119029, at *1 (Mar. 16, 2016). The Ruling states that “subjective symptom evaluation
 is not an examination of an individual’s character.” Instead, ALJs are directed to “more
 closely follow [the] regulatory language regarding symptom evaluation.” Id.; See 20 C.F.R.
 §§ 404.1529, 416.929.

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 glaucoma, chronic pain syndrome and osteoarthritis were not only medically

 determinable impairments, but caused some degree of work-related limitation (Tr. 25).


        Second, the ALJ must evaluate claims of limitation not reflected in the objective

 evidence. 16-3p at *3-4. The ALJ must consider “the entire case record, including the

 objective medical evidence; an individual’s statements about the intensity, persistence,

 and limiting effects of symptoms; statements and other information provided by medical

 sources and other persons; and any other relevant evidence in the individual’s case

 record.” Id. at *4.3 In other words, whether the record as a whole reflects the claimant’s

 professed degree of limitation.


        As to Plaintiff’s third argument regarding his ongoing efforts at pain relief due to

 degenerative disc disease, the ALJ acknowledged that in March, 2016, Dr. Reina

 prescribed Neurontin 800 and Norco in response to Plaintiff’s report of cervical and

 lumbar spine pain and upper extremity numbness (Tr. 28). However, she noted that as of

 the beginning of the following month, Plaintiff reported that his symptoms were


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       In addition to an analysis of the medical evidence, 20 C.F.R. §§ 404.1529(c)(3),
 416.929 list the factors to be considered in making a credibility determination:

        (i) Your daily activities; (ii) The location, duration, frequency, and intensity
        of your pain or other symptoms; (iii) Precipitating and aggravating factors; (iv)
        The type, dosage, effectiveness, and side effects of any medication you take
        or have taken to alleviate your pain or other symptoms; (v) treatment, other
        than medication, you receive or have received for relief of your pain or other
        symptoms; (vi) Any measures you use or have used to relieve your pain or
        other symptoms ... and (vii) Other factors concerning your functional
        limitations and restrictions due to pain or other symptoms. ]


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 controlled (Tr. 28). The ALJ noted that the same month, an MRI showed evidence of

 degenerative disc disease but no abnormal spinal cord signal intensity (Tr. 28). She cited

 Dr. Reina’s July, 2016 finding that the condition of chronic pain syndrome was stable (Tr.

 28).   In regard to Plaintiff’s ability to perform a limited range of full-time, exertionally

 light work, the ALJ cited Dr. Pasia’s March, 2018 finding of full strength in all

 extremities and no tenderness of either the cervical or lumbar spine (Tr. 29). She noted

 that Dr. Pasia’s recent findings were consistent with Dr. Gray’s July, 2017 finding that

 Plaintiff was capable of exertionally light work (Tr. 30). Finally, the ALJ permissibly

 observed that while Plaintiff alleged disability as of February 15, 2015, he worked only

 sporadically from 2008 forward, noting that his “purported inability to work is not

 necessarily due to his impairments” (Tr. 30). See Felisky v. Bowen, 35 F.3d 1027, 1041

 (6th Cir. 1994)(work history relevant in assessing the subjective claims).       The ALJ’s

 discussion and conclusions regarding the subjective allegations of degenerative disc

 disease do not provide grounds for remand.


        In his fourth argument, Plaintiff disputes the ALJ’s statement that on October 21,

 2017, he “was supposed to follow up with his cardiologist for symptoms but did not” (Tr.

 29). ECF No. 13, PageID.568. He contends that the ALJ did not consider his possible

 reasons for failing to follow through with treatment and that in actuality, he received

 consistent treatment for the cardiac condition between 2014 and March, 2018.


        Under SSR 16-7p, “if the individual fails to follow prescribed treatment that might

 improve symptoms,” the ALJ “may find the alleged intensity and persistence of an



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 individual’s symptoms are inconsistent with the overall evidence of record.” Id. at *9.

 However, the ALJ is required to consider the “possible reasons he or she may not comply

 with treatment or seek treatment consistent with the degree of his or her complaints.” Id.


        The ALJ’s statement does not constitute error, much less grounds for remand. She

 accurately paraphrased Dr. Bezo’s October 21, 2017 comment that Plaintiff “was

 supposed to follow-up with cardiologist for symptoms but didn’t” (Tr. 283). Further,

 neither Dr. Bezo’s treating notes nor any of the medical evidence suggests that Plaintiff’s

 ability to obtain consistent medical treatment was compromised by financial or

 transportation problems. While Plaintiff reported significant financial limitations, the

 record shows that he was able to obtain appropriate treatment (stress tests,

 echocardiograms, MRIs, x-rays, pain and cardiac medication) as necessary. Plaintiff

 testified that he did not experience problems driving (Tr. 45). Thus, the ALJ’s possible

 inference that Plaintiff’s failure to followup with a cardiologist was due to lack of

 diligence or serious symptomology (rather than the inability to obtain treatment) is not

 improper.


         Plaintiff’s claim that the ALJ failed to acknowledge that he received long-term

 and consistent treatment for the cardiac condition is contradicted by the ALJ’s discussion

 of his long-term treatment and acknowledgment that the condition caused some degree of

 work-related limitation (Tr. 28-29). To be sure, Plaintiff is correct that he was seen by a

 cardiologist just one week after Dr. Beso made his comment (Tr. 28, 387). However, his

 subsequent examination by a cardiologist does not contradict Dr. Beso’s finding that as of



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 the week before, he had failed to obtain followup treatment by a cardiologist. Further, the

 October, 2017 cardiologist’s records (showing that Plaintiff did not experience edema,

 dizziness, or chest discomfort) do not support Plaintiff’s claim of a disabling cardiac

 condition or contradict the ALJ’s finding that he could perform a limited range of light

 work (Tr. 387). Notably, the ALJ observed that the March, 2018, treating records showed

 that Plaintiff’s edema had resolved, he experienced “rare” heart palpitations, and denied

 dizziness or other symptoms of valvular heart disease (Tr. 28, 384). As such, neither the

 ALJ’s comment that Plaintiff had failed to follow through with recommended treatment

 as of Dr. Beso’s October, 2017 examination, nor her summary of the cardiac treatment

 constitutes error. Because the ALJ’s analysis of the subjective claims is supported the

 record as a whole, remand is not warranted. See Cruse v. Commissioner of Social

 Security, 502 F.3d 532, 542 (6th Cir. 2007)(citing Walters v. Commission of Social

 Security, 127 F.3d 525, 531 (6th Cir. 1997))(ALJ’s findings regarding the allegations of

 limitation entitled to “great weight”).


        Because the determination that Plaintiff was not disabled is well within the “zone

 of choice” accorded to the fact-finder at the administrative hearing level, it should not be

 disturbed by this Court. Mullen v. Bowen, supra.


                                    VI.    CONCLUSION

    For these reasons, I recommend that Defendant’s Motion for Summary Judgment

 [Docket #19] be GRANTED and that Plaintiff’s Motion for Summary Judgment [Docket

 #13] be DENIED.



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    Any objections to this Report and Recommendation must be filed within 14 days of

 service of a copy hereof as provided for in 28 U.S.C. § 636(b)(1) and E.D. Mich. LR

 72.1(d)(2). Failure to file specific objections constitutes a waiver of any further right of

 appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Howard v.

 Sec. of HHS, 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir.

 1981).   Filing of objections which raise some issues but fail to raise others with

 specificity will not preserve all the objections a party might have to this Report and

 Recommendation. Willis v. Sec. of HHS, 931 F.2d 390, 401 (6th Cir. 1991); Smith v.

 Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987).

    Within 14 days of service of any objecting party’s timely filed objections, the

 opposing party may file a response. The response shall be not more than 20 pages in

 length unless by motion and order such page limit is extended by the court. The response

 shall address specifically, and in the same order raised, each issue contained within the

 objections.



                                           s/R. Steven Whalen
                                           R. STEVEN WHALEN
                                           UNITED STATES MAGISTRATE JUDGE


 Dated: December 30, 2019




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                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was sent to parties of
 record on December 30, 2019, electronically and/or by U.S. mail.

                                        s/Carolyn M. Ciesla
                                        Case Manager to the
                                        Honorable R. Steven Whalen




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